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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 KIRA WAHLSTROM,

         Plaintiff

 v.

 DAVID J. HOEY, LAW OFFICES OF                                  1:22-cv-10792-RGS
 DAVID J. HOEY, P.C., DON C. KEENAN,
 AND D.C. KEENAN & ASSOCIATES, P.C.
 D/B/A THE KEENAN LAW FIRM, P.C.

         Defendant


ANSWER OF DEFENDANTS DAVID J. HOEY AND THE LAW OFFICES OF DAVID J.
     HOEY, P.C. TO PLAINTIFF’S COMPLAINT, WITH JURY DEMAND


        NOW come the Defendants, David J. Hoey and the Law Offices of David J. Hoey, P.C.

(“Defendants”) and hereby submit this Answer to the Plaintiff’s Complaint.

                                       INTRODUCTION

1-2.    Paragraphs 1 and 2 represent a statement of the nature of the plaintiff’s complaint as well

as a general characterization of the allegations against the Defendants and therefore no response

is required. To the extent a response is required, the Defendants deny any allegations and/or

characterizations of wrongful conduct by the Defendants, either expressed or implied.

                                         THE PARTIES

3.      Admitted.




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4.      Admitted that David J. Hoey is an individual and attorney domiciled and practicing law

in the Commonwealth of Massachusetts. Further admitted that Attorney Hoey acted on behalf of

the Defendant Law Offices of David J. Hoey, P.C. The remaining allegations are denied.

5.      Admitted that the Law Offices of David J. Hoey, P.C. is a professional corporation,

organized in Massachusetts and with its principal place of business at 352 Park Street, Suite 105,

North Reading, Massachusetts 01864. The remaining allegations are denied.

6.      The Defendants lack sufficient information to either admit or deny the allegations

contained in Paragraph 6, and call upon the plaintiff to prove the same.

7.      The Defendants lack sufficient information to either admit or deny the allegations

contained in Paragraph 7, and call upon the plaintiff to prove the same.

                                JURISDICTION AND VENUE

8.      This paragraph calls for a legal conclusion to which no response is required. Further

answering, the Defendants state that to the extent Paragraph 8 is construed to contain allegations

to which responses are required, the Defendants deny the same.

9.      This paragraph calls for a legal conclusion to which no response is required. Further

answering, the Defendants state that to the extent Paragraph 9 is construed to contain allegations

to which responses are required, the Defendants deny the same.

                                             FACTS

10.     Admitted.

11.     Admitted.




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12.     The Defendants admit the first, third, and fifth sentences. As to the second sentence, the

Defendants deny that Ms. Wahlstrom entered the elevator before Mr. Rivera. As to the fourth

sentence, the Defendants deny Ms. Wahlstrom was grabbed by the throat. All other allegations

contained in the fourth sentence are admitted.

13.     Admitted.

14.     The Defendants lack sufficient information to either admit or deny the allegations

contained in the first sentence, and call upon the plaintiff to prove the same. As to the second

sentence, admitted that Attorney O’Toole referred Ms. Wahlstrom to the Law Offices of David J.

Hoey, P.C., but otherwise denied as alleged.

15.     The Defendants admit that Ms. Wahlstrom entered into the Contingent Fee Agreement

attached as Exhibit A to the plaintiff’s complaint with the Law Offices of David J. Hoey, P.C. As

to the second and third sentences, the Defendants state Exhibit A speaks for itself and therefore

no further response is required. To the extent a response is required, the Defendants deny the

plaintiff’s characterizations and/or interpretations of the same. The remaining allegations

contained in Paragraph 15 are denied.

16.     The Defendants states the Contingent Fee Agreement speaks for itself and therefore no

response is required.

17.     The Defendants states the Contingent Fee Agreement speaks for itself and therefore no

response is required.

18.     As to the first and fourth sentences, the Defendants state that Exhibit B speaks for itself

and therefore no response is required. As to the second and third sentences, admitted that

O’Toole and Wahlstrom signed the agreement, as reflected thereon and therefore no further


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response is required. To the extent a response is required, the Defendants deny the plaintiff’s

characterizations and/ or interpretations of the same. The remaining allegations contained in

Paragraph 18 are denied.

19.     Admitted.

20.     The Defendants admit that Don Keenan of the Keenan Law Firm, P.C. was counsel on

the matter entitled Wahlstrom v. JPA IV Management Company, Inc., et al. No. 1084CV01022.

The Defendants admit that Attorney Keenan sought admission to appear pro hac vice in the

Wahlstrom matter. The remaining allegations contained in Paragraph 20 are denied as alleged.

21.     The Defendants state that the e-mail chain attached as Exhibit C speaks for itself and

therefore no response is required. To the extent a response is required, the Defendants deny the

plaintiff’s characterizations and/ or interpretations of the same.

22.     The Defendants state that the e-mail chain attached as Exhibit C speaks for itself and

therefore no response is required. To the extent a response is required, the Defendants deny the

plaintiff’s characterizations and/ or interpretations of the same. The remaining allegations

contained in Paragraph 22 are denied.

23.     The Defendants lack sufficient information to either admit or deny the allegations

contained in Paragraph 23 and call upon the plaintiff to prove the same.

24.     The Defendants admit that Exhibit D to the Plaintiff’s Complaint is the Contingent Fee

Agreement between the Keenan Law Firm and Ms. Wahlstrom, which speaks for itself and

therefore no response is required. To the extent a response is required, the Defendants deny the

plaintiff’s characterizations and/or interpretations of the same. The remaining allegations

contained in Paragraph 24 are denied.


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25.     The Defendants states that Exhibit D speaks for itself and therefore no response is

required.

26.     The Defendants state that the Contingent Fee Agreements speak for themselves and

therefore no response is required. To the extent a response is required, the Defendants deny the

plaintiff’s characterizations and/or interpretations of the same. The remaining allegations

contained in Paragraph 26 are denied.

27.     The Defendants admit that the case was tried beginning on July 14, 2015 and ended with

a verdict on August 11, 2015. The Defendants further admit that Attorneys Hoey, Sobczak,

Keenan, and Gould participated in the trial. The remaining allegations contained in Paragraph 27

are denied.

28.     The Defendants admit that the jury awarded Ms. Wahlstrom $4 million against the JPA

defendants. The Defendants further admit that the judgment entered against the JPA defendants

in 2015 totaled $6,650,829.58. The remaining allegations are denied as alleged.

29.     Admitted that a Motion for a New Trial was filed by the JPA defendants in the

Wahlstrom v. LAZ Parking Ltd., LLC matter and that the trial judge issued a decision on such

motion, which motion and decision speak for themselves, and therefore no response is required.

To the extent a response is required, the defendants deny the plaintiff’s characterizations and/or

interpretations of the same. The remaining allegations contained in Paragraph 29 are denied.

30.     The Defendants admit the first and third sentences. As to the second sentence, admitted

that Patricia DeJuneas, Robert J. Cordy and Ashley P. Allen worked on the appeal. To the extent

the second sentence expresses or implies any of the Defendants did not participate or provide




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legal services to Ms. Wahlstrom in the appellate matters, the same is denied. The remaining

allegations are denied as alleged.

31.       The Defendants state that the allegations made in the first sentence contains a conclusion

of law to which no response is required. As to the third sentence, the Defendants admit that

Attorney Hoey did not sit at counsel table for the appellate oral argument. Otherwise, as to the

second and third sentences, the Defendants state that the docket for the Appeals Court and the

briefs filed with the Appeals Court speak for themselves and therefore no response is required.

To the extent a response is required, the Defendants deny the plaintiff’s characterizations and/or

interpretations of the same.

32.       Denied as alleged.

33.       The Defendants admit that Attorney Hoey did not file the interlocutory appeal application

or the appellate briefs. The Defendants admit that Attorney Hoey’s name or signatures did not

appear on any of the appellate briefs. All remaining allegations contained in Paragraph 33 are

denied.

34.       The Defendants admit the first sentence. The Defendants lack sufficient knowledge to

either admit or deny the allegations made in the second sentence as alleged, and call upon the

plaintiff to prove the same.

35.       As to the first and third sentences, the Defendants state that the Appeals Court decision

referenced in Paragraph 35 and the docket speak for themselves and therefore no response is

required. To the extent a response is required, the Defendants deny the plaintiff’s

characterizations and/or interpretations of the same. To the extent that the second sentence




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expresses or implies that Attorney DeJuneas alone “investigated and filed” a motion to disqualify

the trial judge, such allegations are denied. Otherwise denied.

36.     The Defendants state that the filings, orders and decisions of the Appeals Court

referenced in Paragraph 36 speak for themselves and therefore no response is required. To the

extent a response is required, the Defendants deny the plaintiff’s characterizations and/or

interpretations of the same.

37.     Denied.

38.     Denied as phrased.

39.     Admitted that Attorney Sobczak filed a lawsuit against the Defendants in Middlesex

County Superior Court. Admitted that Attorney Sobczak filed a notice of lien for attorney’s fees

in Ms. Wahlstrom’s premises liability case. All remaining allegations contained in Paragraph 39

are denied.

40.     Admitted that Attorney Sobczak did not have a fee agreement with Ms. Wahlstrom. As to

allegations concerning Attorney Sobczak’s rationale for pursuing a lien against Ms. Wahlstrom,

the Defendants lack sufficient information to either admit or deny, and call upon the plaintiff to

prove the same. All remaining allegations contained in Paragraph 40 are denied.

41.     The Defendants state that Exhibit E speaks for itself and therefore no response is

required. To the extent a response is required, the Defendants deny the plaintiff’s

characterizations and/or interpretations of the same. All remaining allegations contained in

Paragraph 41 are denied.




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42.     The Defendants lack sufficient information to either admit or deny the allegations

contained in Paragraph 42, and call upon the plaintiff to prove the same.

43.     The Defendants admit that the lien filed by Attorney Sobczak was dismissed. All

remaining allegations contained in Paragraph 43 are denied.

44.     Denied.

45.     Admitted.

46.     Denied as phrased.

47.     Denied.

48.     The Defendants state that the e-mail of December 17, 2019 speaks for itself and deny the

plaintiff’s characterizations and/or interpretations of the same. All remaining allegations

contained in Paragraph 48 are denied.

49.     The Defendants state that Exhibit D speaks for itself and deny the plaintiff’s

characterizations and/or interpretations of the same. The remaining allegations contained in

Paragraph 49 are denied.

        (a)    Admitted that The Keenan Law Firm’s fee was $4,025,036.50 of the

$9,987,683.80 recovery. The remaining allegations contained in Paragraph 49(a) are denied.

        (b)    Admitted that Attorney DeJuneas was paid $197,091.52 and that Justice Cordy

(Ret.) was paid $16,000. As to the second sentence, admitted that Attorney DeJuneas entered

into an engagement agreement with Ms. Wahlstrom. The remaining allegations contained in

Paragraph 49(b) are denied.




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        (c)    Admitted that Attorney Goren was paid $20,824.00. The Defendants state that the

decisions of Justice Wilson speak for themselves and deny the plaintiff’s characterizations and/or

interpretations of the same. As to footnote 1, the Defendants lack sufficient knowledge to either

admit or deny the allegations contained therein and call upon the plaintiff to prove the same. The

remaining allegations contained in Paragraph 49(c) are denied.

        (d)    Admitted that Attorney Bolan was paid $8,432.39. The remaining allegations

contained in Paragraph 49(d) are denied.

        (e)    Admitted that Attorney Goganian was paid $41,231.72. The remaining allegations

contained in Paragraph 49(e) are denied.

        (f)    Admitted that Attorney Vail was paid $2,655.00. The remaining allegations

contained in Paragraph 49(f) are denied.

        (g)    Admitted that Attorney Giordano was paid $1,316.00. The remaining allegations

contained in Paragraph 49(g) are denied.

        (h)    Admitted that the firm of Lewis Brisbois Bisgaard & Smith, LLP was paid

$561.24. The remaining allegations contained in Paragraph 49(h) are denied.

50.     The Defendants admit that Ms. Wahlstrom knew and approved a loan to cover litigation

expenses. The Defendants admit that Advocate Capital charged interest and fees totaling

$238,839.29. The third and fifth sentences appear to refer to the expense accounting provided to

Ms. Wahlstrom, which document speaks for itself and therefore no response is required. To the

extent a response is required, the Defendants deny the plaintiff’s characterizations and/or

interpretations of the same. The Defendants further admit that expenses for office supplies




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totaled $1,992.87, copying totaled $9,964.60, and postage totaled $3,030.36. The remaining

allegations contained in Paragraph 50 are denied.

51.     The Defendants admit that Win Interactive was paid $51,000 to develop an animation

video of the attack in the garage and that the Defendants planned to offer the animation video

into evidence at the premises liability trial. The remaining allegations contained in Paragraph 51

are denied.

52.     The first sentence is denied. The second sentence is a general statement about plaintiff’s

intention(s), to which no response is required.

53.     The Defendants admit that Ms. Wahlstrom signed an itemization of the fees and expenses

dated March 27, 2020 and that Attorney Hoey sent Ms. Wahlstrom an e-mail on March 29, 2020

with another copy of the spreadsheet. The Defendants further state that the itemization sheets and

e-mails referred to in this paragraph speak for themselves and therefore no response is required.

To the extent a response is required, the Defendants deny the plaintiff’s characterizations and/or

interpretations of the same. The remaining allegations contained in Paragraph 53 are denied.

54.     The Defendants admit that Ms. Wahlstrom signed and ratified the expense and

distributions in March 2020. As to Ms. Wahlstrom’s “discovering and understanding” the

Defendants lack sufficient knowledge to either admit or deny these allegations and call upon the

plaintiff to prove the same. The remaining allegations contained in Paragraph 54 are denied.

55.     The Defendants state that Exhibit B speaks for itself and therefore no response is

required. To the extent a response is required, the Defendants deny the plaintiff’s

characterizations and/or interpretations of the same. The remaining allegations contained in

Paragraph 55 are denied.



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56.     Admitted that on May 20, 2020 the Law Offices of David J. Hoey, P.C. sent the Law

Office of Austin O’Toole, PC a check for $250,000.00 in satisfaction of the referral fee

agreement. The remaining allegations contained in Paragraph 56 are denied as alleged.

57.     Admitted that on March 30, 2021 Attorney O’Toole and his firm filed suit against the

Defendants and Ms. Wahlstrom and that the matter is pending in Suffolk Superior Court. The

Defendants further state that Attorney O’Toole and his firm’s Complaint and the Contingency

Fee Agreement speak for themselves and therefore no response is required. To the extent a

response is required, the Defendants deny the plaintiff’s characterizations and/or interpretations

of the same. The remaining allegations contained in Paragraph 57 are denied.

58.     Admitted that on February 23, 2022 Attorney O’Toole and his firm filed an Amended

Complaint. The Defendants further state that Attorney O’Toole’s Amended Complaint speaks for

itself and therefore no response is required. To the extent a response is required, the Defendants

deny the plaintiff’s characterizations and/or interpretations of the same. The remaining

allegations contained in Paragraph 58 are denied.

59.     The Defendants state that Exhibit F speaks for itself and therefore no response is

required. To the extent a response is required, the Defendants deny the plaintiff’s

characterizations and/or interpretations of the same. Further, the Defendants deny the allegations

of Attorney Sobczak contained in the affidavit to the extent such are incorporated by reference to

the Plaintiff’s Complaint. The remaining allegations contained in Paragraph 59 are denied.

60.     The Defendants deny the allegation that there was a “plan to reduce O’Toole’s referral

fee from that promised him.” The Defendants admit that Ms. Wahlstrom was not “aware of or




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involved in any plan to reduce O’Toole’s referral fee from that promised him,” as there was no

such plan. The remaining allegations contained in Paragraph 60 are denied.

61.     The Defendants admit that the Law Offices of David J. Hoey was paid a fee totaling

$750,000 and that the fee was calculated from 33% of the last settlement offer of $2,250,000

made by the JPA defendants prior to the verdict in the premises liability case. The remaining

allegations contained in Paragraph 61 are denied.

62.     The Defendants admit that Attorney Goganian represented Ms. Wahlstrom in the matter

filed by Attorney O’Toole. The remaining allegations contained in Paragraph 62 are denied.

63.     Admitted that the Law Offices of David J. Hoey, P.C. paid the first three invoices from

Attorney Goganian for time billed in the O’Toole case from March 2021 through May 31, 2021

totaling over $21,000. The remaining allegations contained in Paragraph 63 are denied.

64.     To the extent the plaintiff quotes or paraphrases written communications, the Defendants

state that the alleged written communications speak for themselves and therefore no response is

required. To the extent a response is required, the Defendants deny the plaintiff’s

characterizations or interpretations of the same. The remaining allegations contained in

Paragraph 64 are denied.

65.     Admitted.

66.     As to the first sentence, the Defendants lack sufficient information to admit or deny these

allegations as phrased. As to the second sentence, the Defendants lack sufficient information to

either admit or deny the plaintiff’s allegations, and call upon the plaintiff to prove the same.

67.     Admitted.




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68.     Footnote 3 is admitted. Otherwise, denied as phrased.

69.     Denied.

70.     Denied.

71.     Denied.

72.     The Defendants state that the Contingent Fee Agreements and e-mail communications

referenced in Paragraph 72 speak for themselves and therefore no response is required. To the

extent a response is required, the Defendants deny the plaintiff’s characterizations and/or

interpretations of the same. The remaining allegations contained in Paragraph 72 are denied.

73.     Denied.

                                     CAUSES OF ACTION

                                            COUNT I

                   VIOLATIONS OF M.G.L. CHAPTER 93A, SECTION 9

74.     The Defendants repeat and re-allege their responses above as if fully set forth herein.

75.     Denied.

76.     Denied.

77.     The Defendants repeat and re-allege their responses above:

        a.     Denied.

        b.     Denied.

        c.     Denied.



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        d.     Denied.

78.     Denied.

79.     Denied.

80.     Denied.

81.     Denied.

                                            COUNT II

                               BREACH OF FIDUCIARY DUTY

82.     The Defendants repeat and re-allege their responses above as if fully set forth herein.

83.     This paragraph calls for a legal conclusion to which no response is required. However,

any allegation of wrongful conduct, either expressed or implied in this paragraph, is denied.

84.     Denied.

85.     Denied.

86.     Denied.

                                           COUNT III

                                             FRAUD

87.     The Defendants repeat and re-allege their responses above as if fully set forth herein.

88.     Denied.

89.     Denied.

90.     Denied.


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91.       The Defendants state that the Contingent Fee Agreements speak for themselves and deny

the plaintiff’s characterizations and/or interpretations of the same. The remaining allegations

contained in Paragraph 91 are denied.

92.       The Defendants state that the Contingent Fee Agreements speak for themselves and deny

the plaintiff’s characterizations or interpretations of the same. The remaining allegations are

denied.

93.       Denied.

94.       Denied.

95.       Denied.

96.       Denied.

                                             COUNT IV

                                           CONVERSION

97.       The Defendants repeat and re-allege their responses above as if fully set forth herein.

98.       Denied.

99.       Denied.

100.      Denied.

                                              COUNT V

                                  DEMAND FOR ACCOUNTING

101.      The Defendants repeat and re-allege their responses above as if fully set forth herein.




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102.    Denied.

103.    Portions of this paragraph call for a legal conclusion and demand for judgment, to which

no response is required. However, any allegation of wrongful conduct, either expressed or

implied, is denied.

104.    This paragraph calls for a legal conclusion to which no response is required. However,

any allegation of wrongful conduct, either expressed or implied, is denied.

105.    Denied.

The next paragraphs are a demand for judgment to which no response is required.

                                   AFFIRMATIVE DEFENSES

    1. And further answering, the Defendants state that the Plaintiff’s Complaint fails to state a

        claim upon which relief may be granted.

    2. And further answering, the Defendants state that the Plaintiff’s Complaint is not a short

        and plain statement, in violation of Fed.R.Civ.P. 8.

    3. And further answering, the Defendants state that the Plaintiff’s Complaint does not

        comport with Fed.R.Civ.P. 10(b).

    4. And further answering, the Defendants state that the Plaintiff’s fraud count does not

        comport with Fed.R.Civ.P. 9(b).

    5. And further answering, the Defendants state that some or all of the Plaintiff’s Complaint

        is barred by the applicable statute(s) of limitations.

    6. And further answering, the Defendants state that the Plaintiff has failed to mitigate her

        damages.




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    7. And further answering, the Defendants state that the Plaintiff’s claims are barred by

        laches.

    8. And further answering, the Defendants state that the Plaintiff has not met the statutory

        prerequisites to maintain their action, including as to M.G.L. Chapter 93A.

    9. And further answering, the Defendants state that the Plaintiff’s Complaint is barred by

        estoppel.

    10. And further answering, the Defendants state that the Plaintiff has waived her claims

        against the Defendants.

    11. And further answering, the Defendants state that the Plaintiff’s claims are barred due to

        her consent and/or authorization to act on her behalf and/or her ratification.

    12. And further answering, the Defendants state that the Plaintiff’s claims have been released

        by accord and satisfaction.

    13. And further answering, the Defendants state that if the Plaintiff sustained damages as

        alleged, which the Defendants deny, such damages were caused by a person or entity

        whose conduct the Defendants did not control and for whom the Defendants are not

        legally responsible.

    14. And further answering, the Defendants state that they intend to rely upon other defenses

        to the extent applicable and as reflected through discovery and reserves the right to

        amend this answer to assert those defenses.




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                                        JURY DEMAND
        The Defendants demand a trial by jury on all issues so triable.


                                                   Respectfully submitted,

                                                   Defendants,
                                                   David J. Hoey and
                                                   Law Offices of David J. Hoey, P.C.,
                                                   By their attorneys,

                                                   /s/ Christine A. Knipper
                                                   ___________________________________
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